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 8
 9                             UNITED STATES DISTRICT COURT
10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
      UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
12
                  Plaintiff,                        DEFENDANT’S MOTION IN LIMINE TO
13
                         v.                         EXCLUDE EXPERT TESTIMONY OF
14                                                  JOHN DRUM AND REQUEST FOR A
      MICHAEL JOHN AVENATTI,                        DAUBERT HEARING
15
                  Defendant.
16
17
18          Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”), by and through his
19    advisory counsel of record, H. Dean Steward, hereby files this Motion in Limine to
20    Exclude Expert Testimony of John Drum and Request for Daubert Hearing. Defendant’s
21    motion is based on the attached memorandum of points and authorities; the files, records
22    and transcripts in this case; the Reply to be filed following the government’s opposition,
23    and such further evidence and argument as the Court may permit at a hearing.
24
       Dated: September 29, 2021                Respectfully submitted,
25
                                               /s/ Michael J. Avenatti
26
                                                Defendant
27                                              MICHAEL JOHN AVENATTI
28
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2
 3    I.    INTRODUCTION
 4          During the first trial, the government elicited testimony from a single expert
 5    witness, accountant John Drum. On August 12, 2021, the prosecution called Mr. Drum
 6    as its final witness in its case-in-chief. See, e.g., Trial Tr. (8/12/2021, Vol. 2) p. 49. Prior
 7    to testifying in the first trial, Mr. Drum and his firm, the Analysis Group, were paid over
 8    $600,0001 for financial work performed relating to the CDCA prosecution of Mr.
 9    Avenatti. On direct examination during the first trial, the government used Mr. Drum as
10    their key financial witness relating to the ten counts in the Indictment and introduced 32
11    demonstrative/summary exhibits (government exhibits 420-450 and 456) that Mr. Drum
12    prepared that the government claims show that Mr. Avenatti misappropriated client
13    funds and committed wire fraud in connection with the ten counts at issue. As conceded
14    by the government, “the vast majority (if not all) of Mr. Drum’s proposed testimony,
15    involves foundation for and explanation of Rule 1006 summary exhibits…” [Dkt. 299, p.
16    7]. However, the government has failed to authenticate the materials underlying the Rule
17    1006 summary exhibits and has failed to incorporate all relevant data, namely the
18    recently produced Tabs data, within these summary exhibits.
19          During trial, Mr. Drum testified that in order to perform his financial analysis, he
20    was provided access to QuickBooks records, settlement agreements, retention
21    agreements and bank records. See, e.g., Trial Tr. (8/13/2021, Vol. 1) p. 102. Other than
22    the two spreadsheets (marked as government exhibits 48 and 174), Mr. Drum was never
23    provided access to, and did not request access to, the Tabs software database. See, e.g.,
24    Trial Tr. (8/13/2021, Vol. 1) p. 104. Mr. Drum was asked, “Do you have any
25
      1
        The government has likely paid Mr. Drum additional funds for his preparation and
26
      testimony during the re-trial. As of the date of this filing, the defendant has not received
27    the complete billing records for Mr. Drum nor has the defendant received all of the
      Brady and Jencks materials relating to Mr. Drum. The defendant has repeatedly
28
      demanded this information in writing.
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 1    understanding beyond the two draft documents that you referred to that Ms. Regnier
 2    sent, do you have any understanding of what was tracked in Tabs for clients?” to which
 3    he answered “Other than those two spreadsheets, no.” See, e.g., Trial Tr. (8/13/2021,
 4    Vol. 1) p. 105. He stated to the jury that the government “did not give me Tabs data
 5    other than the two spreadsheets.” See, e.g., Trial Tr. (8/13/2021, Vol. 1) p. 108. He also
 6    testified that he never made any effort to learn how Tabs worked and likewise never
 7    “googled it.” He also testified that the government provided Mr. Drum with the
 8    QuickBooks electronic file, but he made no effort before using it for his analysis to see
 9    how current the data was or when the last time it had been updated. See, e.g., Trial Tr.
10    (8/13/2021, Vol. 2) p. 26-27. Mr. Drum stated that he “had no way to verify how
11    complete or incomplete the data was.” See, e.g., Trial Tr. (8/13/2021, Vol. 2) p. 27.
12          Although the government failed to provide Mr. Drum with a copy of the
13    exculpatory Tabs data and comprehensive QuickBooks data, many government
14    witnesses established the importance of the Tabs materials. Multiple witnesses testified
15    that the financial records of Mr. Avenatti’s former law firm were maintained on two
16    separate and independently operated accounting systems, QuickBooks, and Tabs. See,
17    e.g., Trial Tr. (7/28/2021, Vol. 1) p. 92. In order to properly calculate the costs for a
18    particular case, it was necessary to review both QuickBooks and Tabs; relying
19    exclusively on one accounting system would result in inaccurate calculations. See, e.g.,
20    Trial Tr. (7/28/2021, Vol. 1) p. 93; Trial Tr. (7/28/2021, Vol. 2) p. 29. Former Office
21    Manager Judy Regnier answered affirmatively to the question, “without looking at the
22    data from QuickBooks and Tabs, you don’t know what the costs were for the Barela
23    matter; correct?” See, e.g., Trial Tr. (7/29/2021, Vol. 2) p. 65. During the trial, and
24    beyond, the critical nature of the missing financial data was revealed.
25          On August 15, 2021, Mr. Avenatti filed a Motion to Dismiss the Case due to the
26    Government’s Failure to Produce Information as Required by Rule 16, Brady, and
27    Giglio; and (2) Contempt of this Court’s January 15, 2021 Order. [Dkt. 706]. The day
28    prior, on August 14, 2021, the defendant filed a Motion for a Mistrial, or in the
                                                     2
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 1    Alternative, to Strike the Testimony of Robert Amenta and John Drum due to Violations
 2    of the Jencks Act, Rule 26.2, Brady and Giglio. [Dkt. 705].2 The Court has consistently
 3    appreciated the overlap between Mr. Drum’s testimony, his significance as the only
 4    government expert, and the suppression of the Tabs data. On August 20, 2021, the Court
 5    ordered the prosecution team, the Privilege Review Team and the defendant to engage in
 6    a weekend search for the withheld Tabs data. [Dkt. 749]. The Court alerted the parties
 7    that the trial could not continue prior to the Court’s understanding of whether or not, and
 8    to what extent, the Tabs materials existed and were not provided to the defendant, “I
 9    can’t go any further until this question is answered. The Jencks and Brady issues as they
10    relate to Mr. Drum depend in large part on the answer to this question… I’m not going to
11    address Mr. Drum until I know the answer to these questions.” Trial Tr. (8/20/21, Vol. 1)
12    pp. 16-17 (emphasis added).3
13          On August 24, 2021, the Court granted Mr. Avenatti’s Motion for a Mistrial as a
14    result of the suppressed Tabs data. The Court determined, “financial data is critical to
15    this case … But if one looks to Mr. Drum’s charts, particularly 430 through 457 that sum
16    up the case, those charts are based exclusively on financial data.” Trial Tr. (8/24/21, Vol.
17    1) p. 56. The Court went on to conclude, “I believe that the data would have been useful
18    in an overall showing that the government’s accounting records, the methods of Mr.
19    Drum in particular, weren’t accurate. He wasn’t accurate in part of his analysis. I
20    think the jury could question the accuracy of his methods and results with respect to
21    other clients.” Id. at p. 60 (emphasis added).
22
23
      2
24      This motion was based on the government’s admitted failure to produce hundreds of
      pages of materials in violation of the Jencks Act, Brady and Giglio. The government
25
      withheld these materials based on a false understanding of the work-product privilege, a
26    legal concept that has been addressed directly by way of the U.S Supreme Court’s
      decision in Goldberg v. United States, 425 U.S. 94 (1976).
27
      3
       Once the Court declared a mistrial, the then pending defense motion relating to Mr.
28
      Drum became moot.
                                                  3
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 1          Based on the following, Mr. Avenatti asks that the Court exclude the testimony of
 2    Mr. Drum. Additionally, the defendant requests that the Court preclude the government
 3    from introducing the summaries proffered in the initial trial as they are incomplete and
 4    not in compliance with Federal Rule 1006. Defendant further requests a Daubert hearing
 5    prior to Mr. Drum being allowed to testify before the jury.
 6    II.   ARGUMENT
 7          A.     The Proposed Testimony is Violative of Rule 702
 8          Rule 702 of the Federal Rules of Evidence provides that expert opinion evidence
 9    is admissible if the following criteria are met: (1) the witness is sufficiently qualified as
10    an expert by knowledge, skill, experience, training, or education; (2) the scientific,
11    technical, or other specialized knowledge will help the trier of fact to understand the

12    evidence or to determine a fact in issue; (3) the testimony is based on sufficient facts or
      data; (4) the testimony is the product of reliable principles and methods; and (5) the
13
      expert has reliably applied the relevant principles and methods to the facts of the case.
14
      Fed. R. Evid. 702. “The touchstone of admissibility under Rule 702 is the helpfulness of
15
      the evidence to the trier of fact.” United States. v. Rangel–Arreola, 991 F.2d 1519, 1524
16
      (10th Cir.1993). The United States Supreme Court in Daubert v. Merrell Dow
17
      Pharmaceutical set out a two-part test for the admittance of expert testimony. For the
18
      testimony to be admitted, the trial court must determine whether the proposed expert has
19
      (1) sufficient scientific knowledge that will (2) assist the jury with a fact at issue. See
20
      Daubert v. Merrell Pharm., Inc., 509 U.S. 579, 581 (1993). The 2000 Amendments to
21    Rule 702 added the requirement that expert testimony must be based on sufficient facts
22    or data and required “an analysis of the sufficiency of underlying facts or data that is
23    quantitative rather than qualitative.” United States v. W.R. Grace, 455 F.Supp.2d 1148,
24    1152 (Mont. D. 2006); citing Advisory Committee Notes.
25          When conducting the Rule 702 analysis, “the focus, of course, must be solely on
26    principles and methodology, not on the conclusions that they generate.” Daubert v.
27    Merrell Dow Pharms., Inc., 509 U.S. 579 (1993); See, e.g., Crowley v. Epicept Corp.,
28    2015 U.S. Dist. LEXIS 195024 (C.D. Cal. 2015)(excluding the proposed expert’s
                                                     4
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 1    testimony based on the expert’s failure to rely on sufficient data); United States v. ex rel.
 2    Jordan v. Northrop Grumman Corp., 2003 U.S. Dist. LEXIS 29055, *9-11 (C.D. Cal.
 3    2003)(excluding proposed expert testimony where the expert was found to have
 4    “summarized selected documents and made assumptions where convenient to arrive at

 5    the desired result.”); Moussouris v. Microsoft Corp., 311 F.Supp. 3d 1223 (W.D. Wash.
      2018)(excluding expert testimony based on the Court’s finding that the proposed expert
 6
      improperly selected and analyzed a small portion of the data set available to her and
 7
      accordingly she failed to rely on sufficient facts or data); citing Smith v. Pac. Bell Tel.
 8
      Co., Inc., 649 F.Supp. 2d 1073, 1096 (E.D. Cal. 2009)(“Relevant expert testimony is
 9
      admissible only if an expert knows of facts which enable him to express a reasonably
10
      accurate conclusion.”).
11
            Expert opinions “that are derived from erroneous or incomplete data are
12
      appropriately excluded.” Moussouris, 311 F.Supp. 3d at 1244 (emphasis added); citing
13
      Arjangrad v. JPMorgan Chase Bank, N.A., 2012 U.S. Dist. LEXIS 71745, *17-19 (D.
14    Or. 2012)(excluding the expert’s testimony due to finding that the expert “was prevented
15    from considering several key items” rendering the expert opinion incomplete); See also,
16    Powell v. Anheuser-Busch, Inc., 2012 U.S. Dist. LEXIS 200311, *17 (9th Cir. 2011)
17    (holding that the data relied on by the expert was not in compliance with Rule 702
18    because it “did not provide a complete picture of the relevant events” and “offer[ed]
19    opinions without a full understanding or knowledge of the facts of this case.”).
20          As demonstrated above, several witnesses have established that EA LLP relied on
21    both QuickBooks and Tabs to enter costs, expenses, and attorney’s fees and time.
22    Further, it was impossible to properly calculate the fees and costs due from a client’s

23    settlement, and the resulting amount due the client, without considering the data from
      both QuickBooks and Tabs. The government provided Mr. Drum with some
24
      QuickBooks data, although it appears to have been outdated. But Mr. Drum was never
25
      provided any access to the Tabs database nor did he even request it. In theory, the data
26
      available to Mr. Drum was reduced in half. Further, as he admitted during cross-
27
      examination, he has done nothing to verify the QuickBooks data. Accordingly, Mr.
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                                                    5
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 1    Drum did not rely on sufficient data or facts. There has been no showing that Mr. Drum
 2    has since received the relevant Tabs data, reviewed the data, incorporated it within
 3    updated summary charts or altered his opinions at all. In fact, the expansive nature of the
 4    millions of pages of newly produced materials make it impossible for Mr. Drum to have

 5    performed a thorough review, incorporate the materials, and make the necessary changes
      to the summary charts. It would be actually impossible at this time for the purported
 6
      expert to perform a meaningful analysis of the suppressed financial data prior to trial.
 7
            Because Mr. Drum’s reliance was solely on incomplete QuickBooks materials, he
 8
      provided the jury with an incomplete picture of Mr. Avenatti’s funds, expenses, costs,
 9
      attorney’s fees and hourly work performed in relation to the alleged victims. The
10
      government’s act of preventing him from securing a clear picture of the facts at issue in
11
      this case renders his opinion unreliable and not based on a complete data set that should
12
      have been made available to him and is required for his opinions to stand. Thus, Mr.
13
      Drum’s testimony and government exhibits 420-450 and 456 should be excluded.
14
            Mr. Drum’s testimony is incomplete, not supported by at least half of the financial
15
      data available to the prosecution in this case, and is not in compliance with Federal Rule
16
      of Evidence 702. In fact, nothing has changed since the Court made a determination one
17
      month ago that “I believe that the data would have been useful in an overall showing that
18
      the government’s accounting records, the methods of Mr. Drum in particular,
19
      weren’t accurate. He wasn’t accurate in part of his analysis.” Id. at p. 60 (emphasis
20
      added).
21
            B.     The Proposed Testimony is Violative of Rule 703
22          Pursuant to Rule 703, “[a]n expert may base an opinion on facts or data in the case
23    that the expert has been made aware of or personally observed.” In order to qualify as a
24    fact witness, however, the witness must form an opinion that is (a) rationally based in the
25    witness’s perception; (b) helpful to clearly understanding the witness’s testimony or to
26    determining a fact in issue; and, (c) not based on scientific, technical or other specialized
27    knowledge within the scope of Rule 702. Rule 701(a) contains a personal knowledge
28    requirement. United States v. Lopez, 762 F.3d 852, 864 (9th Cir. 2014). In presenting a
                                                    6
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 1    lay opinion under Rule 701, “the personal knowledge requirement may be met if the
 2    witness can demonstrate firsthand knowledge or observation.” Erhart v. Bofi Holding,
 3    Inc., 445 F. Supp. 3d 831, 838 (C.D. Cal. 2020); citing Lopez, supra, 762 F.3d at 864.
 4    Personal knowledge refers to “knowledge produced by the direct involvement in the

 5    senses.” Lopez, 762 F.3d at 863; citing 3 Mueller & Kirkpatrick, Federal Evidence 6.6
      (3d ed. 2012). Further, Rule 703 requires that “[t]he expert’s opinion must rest on ‘facts
 6
      or data in the case that the expert has been made aware of or personally observed,’ not
 7
      merely assumptions and speculation.” Stephens v. Union Pac. R.R. Co., 935 F.3d 852,
 8
      856 (9th Cir. 2019)(quoting Fed. R. Evid. 703; citing Guidroz-Brault v. Mo. Pac. R.R.
 9
      Co., 254 F.3d 825, 830-21 (9th Cir. 2001); DePaepe v. Gen. Motors Corp., 141 F.3d
10
      715, 720 (7th Cir. 1998).
11
            The Ninth Circuit has previously recognized the potential for prejudice when a
12
      witness testifies as both a fact witness and an expert witness. Jinro Am., Inc. v. Secure
13
      Invs., Inc., 266 F.3d 993, 1004 (9th Cir. 2001); See also, United States v. Diaz, 2006
14    U.S. Dist. LEXIS 71123, at *16 (N.D. Cal. 2006); United States v. Dukagjini, 326 F.3d
15    45, 53-55 (2d. Cir. 2003). When a single witness acts as a fact and expert witness, “the
16    government confers upon him the aura of special reliability and trustworthiness
17    surrounding the expert testimony, which out to caution its use.” Id. Additionally, the
18    dual-role of a single witness may “inhibit cross-examination, thereby impairing the
19    trial’s truth seeking function.” Id. There is also an increased danger that “the expert
20    testimony will stray from applying reliably methodology and convey to the jury
21    ‘sweeping conclusions’ about the defendant’s activities contrary to the structures of Rule
22    403 and 702.” United States v. Iniguez, 2005 U.S. Dist. LEXIS 39160, at *6 (E.D. Wash.

23    2005). See also, United States v. Anchrum, 590 F.3d 795, 803-04 (9th Cir.
      2009)(dividing the agent’s testimony into two separate phases, expert testimony and lay
24
      testimony, to avoid blurring the distinction between the two roles).
25
            The government should not be permitted to circumvent the Federal Rules of
26
      Evidence and the general ban on hearsay by offering Mr. Drum as a fact witness. As
27
      evidenced by the government’s conduct during the first trial, the government sought to
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                                                    7
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 1    avoid authenticating and proving the admissibility for each business record by having
 2    Mr. Drum improperly testify to these records and admit them by way of the Rule 1006
 3    summary exhibits. Because the government did not want to authenticate and admit into
 4    evidence the records underlying Mr. Drum’s opinions, it asked Mr. Drum to testify as to
 5    the alleged facts of various transactions contained in the inadmissible business records,
 6    to which Mr. Drum had no personal knowledge. The government should not be
 7    permitted to elicit the testimony of Mr. Drum to describe and parrot the financial records
 8    it cannot offer as evidence. The government’s own statements in prior filings concedes
 9    this theory. The government admitted to the Court, “the vast majority (if not all) of Mr.
10    Drum’s proposed testimony, involves foundation for and explanation of Rule 1006
11    summary exhibits…” [Dkt. 299, p. 7](emphasis added). This statement alone establishes
12    that the government seeks for Mr. Drum to lay the foundation for inadmissible and
13    hearsay documents (that the government cannot establish as properly admitted business
14    records) to which he has no personal knowledge. This is directly contrary to the
15    principles of Federal Rule of Evidence 703 and thus his testimony on these charts, as
16    well as the charts themselves, must be excluded on this basis.
17          C.     The Summaries Proffered by Mr. Drum are Violative of Rule 1006
18          Federal Rule of Evidence 1006 indicates, “[t]he proponent may use a summary,
19    chart, or calculation to prove the content of voluminous writings, recordings, or
20    photographs that cannot be conveniently examined in court.” The proponent must make
21    the original or duplicates “available for examination or copying, or both, by other parties

22    at a reasonable time and place. And the court may order the proponent to produce them
      in court.” Fed. R. Evid. 1006. The Ninth Circuit has made it clear that “[i]t is essential
23
      that the underlying records from which the summaries are made be admissible in
24
      evidence…” United States v. Rizk, 660 F.3d 1125, 1130-31 (9th Cir. 2011)(emphasis
25
      added). Although “these materials must be admissible” they “need not themselves be
26
      admitted into evidence.” Id. See also Paddack v. Dave Christensen, Inc., 745 F.2d 1254,
27
      1260 (9th Cir. 1984)(“it is clear that a summary of both inadmissible and admissible
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                                                    8
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 1    hearsay should not be admitted under Rule 1006”); citing United States v. Johnson, 594
 2    F.2d 1253, 1255 (9th Cir. 1979)(“Under Fed. R. Evid. 1006 the proponent of the
 3    summary must establish that the underlying materials upon which the summary is based
 4    are admissible in evidence.”(emphasis added)); See also, 1600 East Newlands Drive,

 5    LLC v. Amazon.com NVDC, LLC, 2019 U.S. Dist. LEXIS 144131 (D. Nev.
      2019)(“[w]hile it is possible that the records could qualify as business records, it is the
 6
      proponent’s burden to show that all of the criteria to qualify are met through sworn
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      testimony by custodian of the records.”); citing Washington Cent. R. Co. v. Nat’l
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      Mediation Bd., 830 F. Supp. 1343, 1353-54 (E.D. Wash. 1993)(holding that records that
 9
      facially appear to constitute business records did not meet the requisite hearsay
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      exception.)
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            Mr. Avenatti renews his requests to exclude previously marked government
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      exhibits 420-450 and 456 based on their failure to comply with Rule 1006. First, the
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      government previously utilized these summaries as a manner of admitting business
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      records without making any attempts to prove that the underlying materials are properly
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      authenticated and/or admissible. The government should not be permitted to circumvent
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      the Court’s prior orders by creating Rule 1006 summaries that are not compliant with the
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      Federal Rules of Evidence. Second, Mr. Avenatti renews his objection to these
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      summaries as they do not properly identify each and every document or category of
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      documents underlying the Rule 1006 summaries. Third, if these summary charts have
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      changed, the government has failed to provide the defendant with any notice, let alone
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      timely notice, of the modifications to the summary charts in light of the new data that
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      was previously suppressed.
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            D.      The Proposed Testimony is Violative of Rule 403
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            Pursuant to Federal Rule of Evidence 403, the Court may exclude relevant
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      evidence “if its probative value is substantially outweighed by a danger of one or more
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      of the following: unfair prejudice, confusing the issues, misleading the jury, undue delay,
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      wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403. In
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                                                    9
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 1    addition to the requirements of Federal Rules of Evidence 702, 703 and 704, “expert
 2    testimony is subject to Rule 403, and ‘may be excluded if its probative value is
 3    substantially outweighed by the danger of unfair prejudice, confusion of the issues, or
 4    misleading the jury.’ ” Nimely v. City of New York, 414 F.3d 381, 397 (2d Cir.
 5    2005)(quoting Fed. R. Evid. 403). Expert evidence “can be both powerful and quite
 6    misleading because of the difficulty in evaluating it. Because of this risk, the judge in
 7    weighing possible prejudice against probative force under Rule 403 of the preset rules
 8    exercises more control over experts than lay witnesses.” Daubert v. Merrell Dow
 9    Pharms., Inc., 509 U.S. 579, 595 (1993); See also Jinro Am., Inc. v. Secure Invs. Inc.,
10    266 F.3d 993 (9th Cir. 2001). Thus, federal courts have held that “Rule 403 bars expert
11    testimony purporting to interpret the governing law, because such testimony will
12    necessarily confuse the jury by providing competing interpretations of the law.” CDX
13    Liquidating Tr. ex rel. CDX Liquidating Trustee v. Venrock Assocs., 411 B.R. 571, 587
14    (N.D. Ill. 2009) (citation omitted). “Expert testimony about the governing law is barred
15    under Rule 403 because ‘it would be a waste of time if witnesses or counsel should
16    duplicate the judge’s statement of the law, and it would intolerably confound the jury to
17    have it stated differently.’” Id. (quoting Specht v Jensen, 853 F.2d 805, 807 (10th Cir.
18    1988)). Such testimony should be excluded because the jury could be “misled into
19    adopting outright a legal conclusion proffered by the expert.” Hygh v. Jacobs, 961 F.2d
20    359, 364 (2d. Cir. 1992).
21          Mr. Drum’s testimony at a second trial and the admission of the summary exhibits
22    previously admitted by way of Rule 1006 should be excluded in their entirety pursuant to
23    Federal Rule 403. The presentation of incomplete testimony and summaries, which are
24    admittedly not supported by all of the relevant facts and data, are not only in violation of
25    the Federal Rules but are also highly prejudicial and misleading. In a different context,
26    the Court described these summaries as “materially assist[ing] any member of the press
27    or public in appreciating what the charges are and what the government’s contentions
28    are.” Trial Tr. (8/18/21, Vol. 1) p. 89. The government relied heavily on these exhibits
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 1    and Mr. Drum’s explanation of them to tie together its case against the defendant. The
 2    presentation of evidence that unequivocally and hastily eliminates extensive amounts of
 3    data is violative of Rule 403. Accordingly, Mr. Drum’s testimony as well as the
 4    corresponding summary charts should be excluded by way of Federal Rule of Evidence
 5    403.
 6    III.   CONCLUSION
 7           For each of the reasons set forth in the motion, Mr. Avenatti respectfully requests
 8    that the Court exclude the proposed testimony of Mr. Drum as well as the corresponding
 9    summary exhibits in their entirety. In the alternative, defendant requests that the Court
10    hold a Daubert hearing prior to ruling on this motion and permitting any testimony from
11    Mr. Drum.
12
       Dated: September 29, 2021                 Respectfully submitted,
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14                                              /s/ Michael J. Avenatti
15                                              Defendant
                                                MICHAEL JOHN AVENATTI
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 1
                                   CERTIFICATE OF SERVICE

 2          I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
      age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California.
 4
 5    I am not a party to the above-entitled action. I have caused, on September 29, 2021, service

 6    of the:
 7
        DEFENDANT’S MOTION IN LIMINE TO EXCLUDE EXPERT TESTIMONY OF
 8             JOHN DRUM AND REQUEST FOR A DAUBERT HEARING

 9    on the following party, using the Court’s ECF system:
10
      AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
11
      I declare under penalty of perjury that the foregoing is true and correct.
12
13    Executed on September 29, 2021
14
                                              /s/ H. Dean Steward
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                                              H. Dean Steward
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